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UNITED STATES DISTRICT COURT F“'ED wl %
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WESTERN DIVISION §§§§ §§ §§§§§§1,@

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MARVIN RAY SPEARS, .]UDGMENT IN A CIVIL CASE

Plaimiff,
V.

CANADIAN NATIONAL/ILLINO]S CASE NO: 2:03-2961-B
CENTRAL RAILROAD, f/kfa
ILLINOIS CENTRAL RAILROAD,

Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance With the Order Granting

Defendant’s Motion For Summary Judgment entered on August 3, 2005, this cause is hereby
dismissed.

THOMAS M. GCXI.D

 

Clerk of Court

c f
(By) Deputy CleZZ

Tms document entered on the docket heat n compliance
Wlth Rule 58 and!or 79{3) FRCP on d Z"'O 5

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
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Honorable J. Breen
US DISTRICT COURT

